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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


      MORGAN STANLEY SMITH BARNEY,
      LLC,

                                Plaintiff,

      vs.                                             Case No. 3:18-cv-00141-J-34MCR

      DANIEL J. ABEL,

                          Defendant.
 _____________________________________/

                         TEMPORARY RESTRAINING ORDER

        THIS CAUSE is before the Court on Plaintiff’s Emergency Motion for Temporary

 Restraining Order and Preliminary Injunction and Incorporated Memorandum of Law in

 Support Thereof (Emergency Motion, Doc. 2), filed January 22, 2018. On January 22,

 2018, at 5:19 p.m., Plaintiff Morgan Stanley Smith Barney, LLC, (Morgan Stanley) filed

 its Amended Complaint for Injunctive and Other Relief (Amended Complaint, Doc. 6). In

 the Emergency Motion Morgan Stanley seeks a temporary restraining order and

 preliminary injunction precluding Defendant Daniel J. Abel (Abel), and anyone acting in

 concert with him, from soliciting Morgan Stanley’s customers. Morgan Stanley further

 seeks an order directing Abel to return its confidential information. Emergency Motion at

 1.

        In support of its Emergency Motion, Morgan Stanley alleges that Abel, a former

 employee of the company, is breaching non-solicitation and non-disclosure agreements

 between himself and Morgan Stanley and is seeking to “misappropriate and convert
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 Plaintiff’s confidential information and trade secrets relating to Plaintiff’s clients with over

 an estimated $18 million in combined assets for the benefit of himself and his own new

 firm, Abel Wealth Management, LLC (“AWM”) in Jacksonville FL.” Amended Complaint

 at ¶ 1.

           Beginning in March 2014, Abel was initially employed by Morgan Stanley as a

 financial planner. Id. at ¶ 6. However, he eventually transitioned from that position to be

 part of the financial planning support staff. Id. In both roles Morgan Stanley asserts Abel

 had significant contact with Morgan Stanley clients “and had permission to access

 [Morgan Stanley’s] databases and access client information in order to service [Morgan

 Stanley’s] clients.” Id. at ¶ 8. Morgan Stanley further asserts that it has “expended

 considerable money, time, and resources to identify, service, and maintain clients and to

 secure confidential personal and financial information derived from Morgan Stanley

 clients.” Id. at ¶ 9. Doing so, Morgan Stanley deems it a “central responsibility” to

 safeguard “the confidentiality of the comprehensive personal and financial information

 provided to [Morgan Stanley] and its employees” by its clients. Id. at 10. As such, Morgan

 Stanley contends that its client information is held “in the strictest confidence, with

 safeguards designed to prevent any unauthorized disclosure of client information.” Id.

           When Abel joined Morgan Stanley, he entered into an Employment Agreement

 which contains “restrictions against taking confidential customer (including names and

 contact information) or Morgan Stanley information, restrictions against solicitation of

 Morgan Stanley customers, and agreed to the entering of an injunction in the event that

 he breached these obligations.” Id. at ¶ 13. Likewise, in December of 2015, Abel

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 executed the Morgan Stanley Wealth Management Joint Production Arrangement Policy

 (“JP Policy”) which includes a non-solicitation provision and further directs that “[i]n the

 event of a breach of any of the restrictions contained or incorporated herein, [Abel] agrees

 that [Morgan Stanley] will suffer immediate and irreparable harm, that money damages

 will not be adequate to compensation (sic) [Morgan Stanley], and [Morgan Stanley] will

 therefore be entitled to appropriate injunctive relief.” Id. at ¶¶ 12, 17; Exhibit 2 at 5 (JP

 Policy).1 The JP Policy also provides that its “non-disclosure, confidentiality and non-

 solicit restrictions will survive termination of the JP Arrangement.” Id. at ¶ 20. Finally,

 Morgan Stanley asserts that as a Morgan Stanley employee, Abel was subject to the

 Morgan Stanley Code of Conduct. Within the applicable Code of Conduct is a provision

 obligating employees to protect client and firm confidential information, during as well as

 after their employment at Morgan Stanley. Id. at ¶ 21.

        Morgan Stanley alleges that on or about January 12, 2018, Abel submitted a letter

 of resignation by slipping it under the door of his supervisor, Albert S. Toto III, while Toto

 was out of town for a long weekend.             Amended Complaint, Attach. 3 at ¶ 8 (Toto

 Declaration). Hence, it was not until Tuesday, January 16, 2018, that any manager at

 Morgan Stanley became aware of Abel’s resignation. Id. Morgan Stanley asserts that in

 the interim, and perhaps even prior to his departure from Morgan Stanley, Abel engaged

 in acts which violated the terms of his Employment Agreement, the JP Policy, and Morgan

 Stanley’s Code of Conduct. Amended Complaint at ¶¶ 23-25; Toto Declaration at ¶¶ 8-


 1In Morgan Stanley’s Amended Complaint, it states that on August 29, 2017, Abel executed the JP Policy.
 Amended Complaint at ¶ 17. However, Exhibit 2 of the Amended Complaint, which is a copy of Abel’s JP
 Policy with Morgan Stanley, was executed on December 8, 2015.
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 11; Supplemental Declaration of Albert S. Toto III (Doc. 4-1, Toto Supplemental

 Declaration) at ¶¶ 5-11.

        In particular, Morgan Stanley alleges in its Amended Complaint and supporting

 declarations that “despite the numerous contractual restrictions designed to prohibit any

 misuse or disclosure of Plaintiff’s confidential information, [Abel] engaged in various and

 repeated activities to take Plaintiff’s confidential information, store it outside of Plaintiff’s

 servers and databases, and use that information to solicit Plaintiff’s customers.”

 Amended Complaint at ¶ 23. In the days preceding his resignation, Morgan Stanley

 contends that Abel contacted Morgan Stanley clients by phone, one of whom decided to

 transfer his accounts to Abel’s new firm. Id. at ¶ 24. Morgan Stanley asserts that Abel

 has contacted at least five other Morgan Stanley clients to solicit their business. Id. at ¶¶

 24-25; Toto Declaration at ¶ 11; Toto Supplemental Declaration at ¶¶ 5-8. Similarly,

 Morgan Stanley alleges that Abel “sent out a notification to his connections – several of

 whom are Morgan Stanley clients – on the social networking site, LinkedIn.com, asserting

 that he was starting his own firm.” Amended Complaint at ¶ 25. Morgan Stanley contends

 that “[t]his conduct violates the Non-Solicitation Provision contained in the JP Policy,

 which prohibits Defendant from soliciting any of Plaintiff’s clients.” Id.

        Upon learning of Abel’s resignation from Morgan Stanley on January 16, 2018,

 and of his alleged activities in violation of his Employment Agreement, the JP Policy, and

 the Morgan Stanley Code of Conduct, Morgan Stanley sent two separate letters to Abel,

 seeking clarification as to his actions, requesting that he return any and all Morgan

 Stanley confidential information, and demanding that he cease and desist from violating

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 his obligations to the firm. Amended Complaint, Attach. 4 (January 17, 2018 letter);

 Attach. 5 (January 18, 2018 letter).            According to Morgan Stanley, Abel responded

 through an attorney, but “failed to return any customer lists and other documents

 belonging to Morgan Stanley and refused to certify compliance with restrictive covenants

 going forward.” Emergency Motion, Attach. 1 at ¶ 4 (Declaration of Michael D. Bressan).

 Consequently, Morgan Stanley filed its Emergency Motion before this Court seeking

 temporary and preliminary injunctive relief.

         Having considered the Amended Complaint, Emergency Motion, and declarations

 filed in support thereof, and in accordance with Rule 65(b), Federal Rules of Civil

 Procedure (Rule(s)), and Local Rule 4.05, United States District Court, Middle District of

 Florida (Local Rule(s)),2 the Court makes the following findings for purposes of resolving

 this Motion:3

     1. Morgan Stanley is a Delaware corporation with its principal place of business in

         either New York or New Jersey. Amended Complaint at ¶ 2. Defendant Abel is

         an individual who is a citizen of Florida. The amount in controversy is in excess of

         $75,000. Accordingly, this Court has diversity jurisdiction over this action pursuant

         to 28 U.S.C. § 1332.

     2. This Court has personal jurisdiction over Abel because he resides in the state of

         Florida, is engaged in business in the state, and is alleged to have committed




 2 In the Emergency Motion, Morgan Stanley cites to the Florida Rules of Civil Procedure which are
 inapplicable. However, in its proposed order, Morgan Stanley correctly relies on the Rules and Local Rules.
 3 These findings are based solely on Morgan Stanley’s pleadings and declarations. As such, they are

 subject to change once Abel has appeared and presented his version of these events.
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       tortious acts in the state. See Morrison Management Specialists, Inc. v. LVDC,

       Inc., No. 8:11-cv-660-T-30TGW, 2011 WL 2446701, *1 (M.D. Fla. June 15, 2011).

    3. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2), in that the matter

       is founded solely on diversity jurisdiction and a substantial part of the events or

       omissions giving rise to the claim are alleged to have occurred in this district.

    4. It is within the Court’s discretion to grant injunctive relief. All Care Nursing Serv.

       v. Bethesda Memorial Hosp., Inc., 887 F.2d 1535, 1537 (11th Cir. 1989). In order

       for a court to grant injunctive relief, a movant must show: (1) the movant has a

       substantial likelihood of success on the merits; (2) irreparable injury will be suffered

       if the injunction does not issue; (3) “the threatened injury to the movant outweighs

       whatever damage the proposed injunction will cause the opposing party;” and (4)

       that the proposed injunction would not be adverse to the public interest. Id.;

       Davidoff & CIE, S.A. v. PLD Int’l Corp., 263 F.3d 1297, 1300 (11th Cir. 2001); Am.

       Red Cross v. Palm Beach Blood Bank, Inc., 143 F.3d 1407, 1410 (11th Cir. 1998).

    5. Morgan Stanley asserts claims for breach of contract, misappropriation of trade

       secrets, tortious interference with business relationships, and deceptive and unfair

       trade practices. See Amended Complaint at 11, 12, 14, 15. In Florida, a breach

       of contract action requires the following three elements: a valid contract, material

       breach, and damages. Sanderson v. Zurich American Ins. Co., No. 8:09-cv-1755-

       T-23AEP, 2009 WL 4899403, *2 (M.D. Fla. Dec. 11, 2009) (quoting Friedman v.

       New York Life Ins. Co., 985 So. 2d 56, 58 (Fla. 4th Dist. Ct. App. 2008). With



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        respect to its claim for trade secret misappropriation,4 Morgan Stanley must

        establish the following: “(1) that the plaintiff possessed secret information and took

        reasonable steps to protect its secrecy and (2) that the secret it possessed was

        misappropriated.” H2Ocean, Inc. v. Schmitt, No. 3:05cv387/RV/EMT, 2006 WL

        1835974, at *3 (N.D. Fla. June 30, 2006); see also Border Collie Rescue, Inc. v.

        Ryan, 418 F. Supp. 2d 1330, 1338 (M.D. Fla. 2006); Fla. Stat. §§ 688.002-.003.

        “Misappropriation” means the:

                Disclosure or use of a trade secret of another without express or
                implied consent by a person who: . . . 2. At the time of disclosure or
                use, knew or had reason to know that her or his knowledge of the
                trade secret was: . . . b. Acquired under circumstances giving rise to
                a duty to maintain its secrecy or limit its use.

        See Fla. Stat. § 688.002(2)(b). Additionally, under Florida law

                [t]he elements of tortious interference with a business relationship
                are “(1) the existence of a business relationship . . . (2) knowledge of
                the relationship on the part of the defendant; (3) an intentional and
                unjustified interference with the relationship by the defendant; and
                (4) damage to the plaintiff as a result of the breach of the
                relationship.”

        See Ethan Allen, Inc. v. Georgetown Manor, Inc., 647 So. 2d 812, 814 (Fla. 1994)

        (quoting Tamiami Trail Tours, Inc. v. Cotton, 463 So. 2d 1126, 1127 (Fla. 1985)).

        Finally, to state a claim under Florida’s Deceptive and Unfair Trade Practices Act

        (“FDUPTA”), a plaintiff must establish a deceptive act or unfair practice, causation,

        and actual damages. See KC Leisure, Inc. v. Haber, 972 So. 2d 1069, 1073 (Fla.

        5th Dist. Ct. App. 2008). Based on the allegations in the Amended Complaint, and


 4
  Florida law provides that “[a]ctual or threatened misappropriation may be enjoined.” See Fla. Stat. §
 688.003.
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         as verified by the declarations submitted in support of the Amended Complaint, the

         Court finds that Morgan Stanley has established a substantial likelihood of success

         on the merits of these claims.5

     6. Morgan Stanley has sufficiently alleged that Abel’s disclosure and use of its

         confidential client information or trade secrets would cause immediate and

         irreparable harm to Morgan Stanley’s business relationships.                     Notably, under

         Florida law, a court may presume irreparable injury in cases involving tortious

         interference with business relationships and misappropriation of trade secrets.

         See Se. Mech. Servs. v. Brody, No. 8:08-CV-1151-T-30EAJ, 2008 WL 4613046,

         at *15 (M.D. Fla. Oct. 15, 2008); see also Dotolo v. Schouten, 426 So. 2d 1013,

         1015 (Fla. 2d Dist. Ct. App. 1983). Regardless, the Court finds that Morgan

         Stanley has set forth sufficient facts suggesting that Abel has already disclosed

         and used confidential company information, and that Morgan Stanley would not be

         able to “undisclose” or recover that information. As such, the status quo between

         Morgan Stanley and certain of its customers would be lost forever.                             See

         Pharmerica, Inc. v. Arledge, No. 8:07-cv-486-T-26MAP, 2007 WL 865510, at *8

         (M.D. Fla. Mar. 21, 2007). Based on Morgan Stanley’s allegations and supporting

         declarations, it appears that Abel has solicited at least one customer from Morgan

         Stanley and to his new firm, and has contacted several others.                       Florida law




 5
  Consistent with temporary restraining order practice, this finding is based solely on Morgan Stanley’s
 Amended Complaint and declarations and is made for the purpose of resolving the Emergency Motion only.
 This conclusion does not foreclose the argument at the hearing on the motion for preliminary injunction that
 Morgan Stanley cannot establish a substantial likelihood of success on the merits.
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       recognizes that “[t]he loss of customers and good will is an irreparable injury and

       is difficult to measure.” See Brody, 2008 WL 4613046, at *15.

    7. Morgan Stanley asserts that because Abel allegedly has already used Morgan

       Stanley’s confidential customer information to solicit current Morgan Stanley

       clients to join his independent firm, Morgan Stanley’s “injury is so imminent that

       notice and a hearing on the application for preliminary injunction is impractical, if

       not impossible.” Emergency Motion at 2. Notably, based on Morgan Stanley’s

       filings, it appears the parties have engaged in communications in which Morgan

       Stanley has twice requested that Abel “cease and desist.” Amended Complaint,

       Attach. 4-5.    Moreover, on January 22, 2018, at 7:30 p.m., Morgan Stanley

       personally served Abel with process as well as Plaintiff’s Complaint for Injunctive

       and Other Relief with Exhibits, Plaintiff’s Emergency Motion for Temporary

       Restraining Order and Incorporated Memorandum of Law in Support Thereof,

       Declaration of Michael D. Bressan, Proposed Injunction Order, and Civil Cover

       Sheet. See Return of Service (Doc. 8) filed January 23, 2018. As such, Abel has

       notice of Morgan Stanley’s request for injunctive relief and its attempts to have him

       refrain from his current alleged activities. In light of Abel’s alleged solicitation of

       Morgan Stanley clients, the Court is satisfied that a hearing in accordance with

       Rules 4 and 65 of the Federal Rules of Civil Procedure, as well as the Court's Local

       Rules, should not be required prior to the issuance of this temporary restraining

       order as it is impossible or impractical due to the imminent threat of irreparable

       injury.

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    8. On the limited record here, the Court finds that the threatened injury to Morgan

       Stanley, if this request is not granted, outweighs any potential damage this limited

       relief would cause to Abel. Indeed, the Court can discern no significant harm to

       Abel that would result from the issuance of this injunction, particularly given its

       short duration.

    9. Upon review, the Court determines that the entry of a temporary restraining order

       in this case would serve the public’s interest in protecting legitimate businesses

       from the misappropriation of confidential information and resources, as well as

       promote the protection of contractual rights. See Moon v. Medical Technology

       Assocs., Inc., No. 8:13-cv-2782-EAK-EAJ, 2014 WL 1092291, *3 (M.D. Fla. March

       19, 2014) (“Public interest favors the protection and enforcement of contractual

       rights . . . .”); Brody, 2008 WL 4613046, at *16 (“a preliminary injunction would

       affirmatively serve the public interest by protecting business from misappropriation

       of confidential information and resources.”); Pharmerica, 2007 WL 865510, at *9

       (“[A]n injunction against [defendant] is appropriate . . . [because] it protects the

       advancement of honest business enterprises and the economic well-being of the

       nation as a whole.” (internal quotations omitted)).

    10. In light of the foregoing, the Court concludes that Plaintiff has satisfied the

       requirements of Rule 65(b) as well as Local Rule 4.05.

       Therefore, the undersigned finds that a Temporary Restraining Order should issue

 to preserve the status quo. In issuing the Temporary Restraining Order, the Court

 understands that Abel has not yet been given an opportunity to be heard and emphasizes

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 that it is not making a final decision on any request for preliminary injunctive relief.

 However, the Court is convinced that issuing the Temporary Restraining Order until a full

 hearing can be held on Morgan Stanley’s request for preliminary injunctive relief is the

 lawful and proper action. Accordingly, it is

        ORDERED:

    1. Plaintiff’s Emergency Motion for Temporary Restraining Order and Preliminary

        Injunction and Incorporated Memorandum of Law in Support Thereof (Doc. 2) is

        GRANTED, in part.

           a. Plaintiff’s Emergency Motion is GRANTED to the extent that the Court

               enters a Temporary Restraining Order set forth below.

           b. In all other respects, Plaintiff’s Emergency Motion is TAKEN UNDER

               ADVISEMENT.



    2. Defendant Daniel J. Abel, and all persons in active concert or participation with

        him, who receive actual notice of this Order, are enjoined and restrained from

        doing any of the following:

           a. Soliciting the business of any customers of Morgan Stanley serviced by

               Defendant or whose names became known to Defendant while in the

               employ of Morgan Stanley or as a result of Defendant’s employment with

               Morgan Stanley or initiating any contact with such customers of Morgan

               Stanley for the purpose of conducting business with or transferring accounts

               to any other person or firm that does business in any line of business in

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              which Morgan Stanley or any of its affiliates is engaged (excluding members

              of Defendant’s family); and

          b. Using, disclosing or transmitting for any purpose, any records, documents

              or information relating in any way to Morgan Stanley’s customers, including,

              but not limited to, any list of Morgan Stanley customer names and/or

              customer contact information, business or marketing strategies, or business

              operations of Morgan Stanley, whether in original, copied, computerized,

              handwritten or any other form (hereafter the “records and Information”).



    3. This Temporary Restraining Order is not a decision on the ultimate merits of this

       dispute and is without prejudice to the rights, remedies, claims or defenses of any

       party hereto, and no party hereto shall argue that this Temporary Restraining Order

       precludes the making of any substantive argument at the FINRA merits hearing.



    4. Morgan Stanley shall post good and sufficient security in the form of a surety bond

       with the Clerk of the Court in the amount of TWENTY-FIVE THOUSAND

       DOLLARS ($25,000.00) for the payment of such costs and damages as may be

       incurred or suffered should it later be determined that Abel was wrongfully enjoined

       or restrained. This directive is without prejudice to either parties’ right to seek an

       adjustment to the bond amount at the preliminary injunction hearing.




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    5. The requirements of this Order shall be effective immediately upon entry.

       However, should Morgan Stanley fail to comply with the posting of security with

       the Clerk, as required by paragraph 4, by 3 p.m., Wednesday, January 31, 2018,

       this restraining order shall no longer be in effect.



    6. Although Morgan Stanley has served Abel with process in accordance with Rule

       4, it must further serve him with a copy of its Amended Complaint. Morgan Stanley

       is also under a continuing obligation to notify and serve any papers subsequently

       filed with the Court on Abel until the preliminary injunction hearing or counsel for

       Abel makes an appearance on his behalf, whichever occurs first.




    7. Abel must respond to the Emergency Motion, including all counter or opposing

       affidavits and a memorandum of legal authority on or before Tuesday, January

       30, 2018.



    8. Morgan Stanley may file a reply to Abel’s response on or before 1 p.m., Friday,

       February 2, 2018.




    9. This Order shall remain in full force and effect until 5 p.m. on Tuesday, February

       6, 2018, unless extended or sooner dissolved.



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     10. A hearing as to whether this Temporary Restraining Order should be converted

         into a preliminary injunction will be held on Tuesday, February 6, 2018, at 1:30

         p.m., in Courtroom 10B, Tenth Floor, United States Courthouse, 300 North Hogan

         Street, Jacksonville, Florida.6 Counsel shall appear in person and telephonic

         appearances will not be permitted.7



         DONE AND ORDERED at Jacksonville, Florida on January 23, 2018, at 4:40 p.m.




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 Copies to:

 Counsel of Record
 Pro Se Parties




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   All persons entering the Courthouse must present photo identification to Court Security Officers. Although
 cell phones, laptop computers, and similar electronic devices generally are not permitted in the building,
 attorneys may bring those items with them upon presentation to Court Security Officers of a Florida Bar
 card (presentation of the Duval County Courthouse lawyer identification card will suffice) or Order of special
 admission pro hac vice. However, all cell phones must be turned off while in the courtroom.
 7
   The hearing will be conducted in accordance with Local Rule 4.06, and Rule 65. The case does not
 appear to involve the exceptional situation wherein the Court will allow the parties to submit evidence at the
 hearing. See Local Rule 4.06(b). Thus, absent a motion and order directing otherwise, the hearing will be
 limited to the written submissions and arguments of counsel.
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